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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                          CASE NO. 1:07-cr-00014-MP-AK

GEOFFREY JAMES RUSSELL,

      Defendant.
___________________________/

                                         ORDER

       This matter is before the Court on Doc. 198, Motion to Continue Sentencing by Geoffrey

James Russell. The government agrees to the continuance. The sentencing is hereby reset to

March 26, 2008, at 10:00 a.m.



       DONE AND ORDERED this           16th day of January, 2008


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
